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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 UNITED STATES OF AMERICA,                  §
                                            §
                      Plaintiff,            §
                                            §
                                            §       Criminal No. 3:16-CR-516-D (1)
                                            §
 ALAN ANDREW BEAUCHAMP,                     §       *This memorandum opinion and order was originally filed
                                            §       under seal on April 4, 2017. It is being filed unsealed
                      Defendant.            §       because the parties agree that it need not remain sealed.

                                   MEMORANDUM OPINION
                                       AND ORDER

        The United States of America (the “government”) moves on two grounds to disqualify

 defendant Alan Andrew Beauchamp’s (“Beauchamp’s”) retained counsel, William

 McMurrey, Esquire (“McMurrey”). Concluding that the government has not met its burden

 on either ground, the court denies the motion.

                                                I

        Following a four-year government investigation, the grand jury indicted Beauchamp

 for his alleged involvement in a healthcare bribery and kickback scheme at Forest Park

 Medical Center (“FPMC”). As relevant to the instant motion, the government alleges that

 FPMC illegally bribed Dr. Shawn Henry (“Dr. Henry”) in exchange for his sending patients

 to FPMC. The government contends that FPMC bribed Dr. Henry using two sham

 agreements for services he did not perform: one for Dr. Henry to serve as an on-call spine
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 surgeon for FPMC’s emergency room (“Emergency Room Agreement”), and one for

 consulting services (“Consulting Agreement”).1

        McMurrey performed legal work for FPMC prior to the investigation, and he has

 represented Beauchamp personally since the investigation began. The government contends

 that McMurrey advised FPMC on both the Emergency Room Agreement and the Consulting

 Agreement. McMurrey acknowledges that he worked on the Emergency Room Agreement,

 but he denies any knowledge of the Consulting Agreement. McMurrey also briefly

 represented Garry Craighead (“Craighead”), whom the government identifies as a potential

 witness in its case. According to the government, Craighead also received bribe and

 kickback payments from FPMC.

        The government moves to disqualify McMurrey based on an alleged conflict of

 interest arising from his alleged work on the Emergency Room Agreement and Consulting

 Agreement, as well as his prior representation of Craighead. Beauchamp opposes the

 motion.

                                              II

        “[D]isqualification cases are governed by state and national ethical standards adopted

 by the court.’” United States v. Starnes, 157 Fed. Appx. 687, 693 (5th Cir. 2005) (per

 curiam) (alteration in original) (quoting FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304, 1311 (5th



        1
         The Consulting Agreement allegedly involved an agreement between FPMC and a
 third party. The third party then allegedly paid Dr. Henry for consulting services he did not
 perform.

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 Cir. 1995)). As the party seeking disqualification, the government bears the burden of proof.

 In re Am. Airlines, Inc., 972 F.2d 605, 614 (5th Cir. 1992) (“[T]he party seeking

 disqualification bears the burden of pro[of.]”).2

        The government advances two arguments for why McMurrey should be disqualified:

 first, that he is a necessary witness, and, second, that he has a conflict from his prior

 representation of a potential witness.

                                              III

        The court first considers whether McMurrey is a necessary witness in this case.

                                               A

        Rule 3.08(a) of the Texas Disciplinary Rules of Professional Conduct states:

               A lawyer shall not accept or continue employment as an
               advocate before a tribunal in a contemplated or pending
               adjudicatory proceeding if the lawyer knows or believes that the
               lawyer is or may be a witness necessary to establish an essential
               fact on behalf of the lawyer’s client, unless . . . the testimony
               relates to an uncontested issue [or] the testimony will relate
               solely to a matter of formality and there is no reason to believe
               that substantial evidence will be offered in opposition to the
               testimony[.]




        2
          The Fifth Circuit is “sensitive to preventing conflicts of interest.” In re ProEduc.
 Int’l, Inc., 587 F.3d 296, 299 (5th Cir. 2009) (quoting In re Am. Airlines, 972 F.2d at 611).
 A district court is therefore “obliged to take measures against unethical conduct occurring
 in connection with any proceeding before it.” In re Am. Airlines, 972 F.2d at 611 (emphasis
 in original) (citing Woods v. Covington Cnty. Bank, 537 F.2d 804, 810 (5th Cir. 1976)).

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 Tex. Disciplinary R. Prof’l Conduct 3.08(a), reprinted in Tex. Gov’t Code Ann., tit. 2, subtit.

 G, app. A, Art. 10, § 9 (West 2017). Similarly, Rule 3.7(a) of the American Bar Association

 Model Rules of Professional Conduct provides, in relevant part:

               A lawyer shall not act as an advocate at a trial in which the
               lawyer is likely to be a necessary witness unless:
               (1) the testimony relates to an uncontested issue;
               (2) the testimony relates to the nature and value of legal services
               rendered in the case; or
               (3) disqualification of the lawyer would work substantial
               hardship on the client.

 Model Rules of Prof’l Conduct R. 3.7(a) (2016). These “lawyer-as-witness” rules are not

 implicated, however, “unless the lawyer ‘is likely to be a necessary witness.’” Starnes, 157

 Fed. Appx. at 693 (quoting United States v. Watson, 87 F.3d 927, 932 (7th Cir. 1996)). “A

 lawyer is not ‘likely to be a necessary witness’ when evidence pertaining to each matter to

 which he could testify is available from another source.” Id. at 693-94 (citing Horaist v.

 Doctor’s Hosp. of Opelousas, 255 F.3d 261, 267 (5th Cir. 2001)); see also Horaist, 255 F.3d

 at 267 (holding that, because lawyer’s potential testimony was cumulative of other evidence,

 lawyer was not necessary witness and trial court did not err in refusing to disqualify him).

                                               B

        The government first contends that McMurrey will likely be a necessary witness for

 some defendants (including Beauchamp) because his alleged consultation on the Consulting

 Agreement and the Emergency Room Agreement might legitimize the agreements. In its

 brief, the government notes that a document entitled “Analysis of Real Estate Consulting

 Services Arrangement,” prepared on behalf of FPMC, lists McMurrey as the client contact.

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 Gov’t Br. 5. The government appears to infer from this document that McMurrey was

 “potential[ly] involve[d] in obtaining a fair market value analysis of the [C]onsulting

 [A]greement . . . [and was] likely presen[t] at a meeting when the agreement was signed.” Id.

 at 10-11. The government maintains that McMurrey’s presence and knowledge of a fair

 market value appraisal undercuts the government’s theory that the Consulting Agreement

 was a sham.

        In response, Beauchamp denies that McMurrey has any knowledge of the Consulting

 Agreement. According to Beauchamp, McMurrey had no awareness of the document’s

 existence until the government filed its motion to disqualify, and McMurrey never worked

 on the Consulting Agreement. Beauchamp posits that, “[i]f one of the defendants were to

 indicate a desire to obtain Mr. McMurrey’s testimony about the [Consulting Agreement]

 appraisal, his testimony would be that he had no knowledge of this document at the time it

 was created and played no role in obtaining it from the appraisal company.” D. Br. 7.

        The court concludes that the government has failed to meet its burden as to this

 potential testimony. The government’s sole evidence in support—the analysis listing

 McMurrey as FPMC’s client contact—does not show that McMurrey has knowledge.

 McMurrey did not draft the document; indeed, the government submits no evidence that

 McMurrey ever saw the document. The government’s conclusion that McMurrey was

 “potential[ly] involve[d]” with the agreement and “likely presen[t]” at its signing is

 speculative. Such speculation is insufficient to satisfy the government’s burden to prove

 conflict of interests. See In re Am. Airlines, Inc., 972 F.2d at 614.

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                                                C

        The government also maintains that McMurrey’s admitted involvement with the

 Emergency Room Agreement renders him a potential necessary witness:

                 That an attorney—let alone a partner at a major law firm who
                 served as a former Assistant United States Attorney—consulted
                 on the deal at least tends to undercut the government’s argument
                 that the agreement was a complete sham. Further, it is highly
                 likely that McMurrey would testify that the defendants’
                 intentions—at least from his vantage point—appeared pure.

 Gov’t Br. 10.

        The      government’s    contentions   are   insufficient   to   warrant    McMurrey’s

 disqualification. The question for the court is not whether McMurrey could offer testimony

 that would benefit a defendant. Rather, disqualification is only appropriate if he is the only

 witness who could offer such testimony. See Starnes, 157 Fed. Appx. at 694. The

 government has not made this showing here, and the court thus concludes that it has failed

 to meet its burden.3

                                               IV

        The court now considers whether McMurrey should be disqualified based on his

 former representation of Craighead.




        3
        Beauchamp posits that multiple witnesses would be able to offer the same testimony
 as McMurrey, including Rob Castle, a then-senior associate who worked on the emergency
 room deal with McMurrey.

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                                               A

        When an attorney cross-examines a former client, “[a]n actual conflict may exist and

 the Constitution is implicated [because the] attorney . . . placed or places himself or herself

 in a situation ‘inherently conducive to divided loyalties.’” Perillo v. Johnson, 205 F.3d 775,

 801 (5th Cir. 2000) (quoting Castillo v. Estelle, 504 F.2d 1243, 1245 (5th Cir. 1974)).

 “There must be an ‘actual’ conflict and not ‘a speculative or potential’ conflict.” United

 States v. Burns, 526 F.3d 852, 856 (5th Cir. 2008) (quoting United States v. Infante, 404 F.3d

 376, 391 (5th Cir. 2005)). “The question of whether a disqualifying conflict exists is highly

 fact-dependent.” Id. In answering this question, four factors are particularly relevant:

               (1) whether the attorney has confidential information that is
               helpful to one client but harmful to the other client; (2) whether
               and how closely related is the subject matter of the multiple
               representations; (3) how close in time the multiple
               representations are; and (4) whether the prior representation has
               been unambiguously terminated.

 Id.

                                               B

        In its brief, the government contends that McMurrey’s former representation of

 Craighead will place him “in the undesirable position of deciding whether to use any

 confidential information obtained during his representation of Craighead to impeach him [at

 Beauchamp’s trial].” Gov’t Br. 12. The government relies on United States v. Martinez, 630

 F.2d 361 (5th Cir. 1980), in which the Fifth Circuit held that an attorney had an actual

 conflict and the defendant’s Sixth Amendment right to counsel was violated when the


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 attorney’s “effective representation of his client would compel him to violate confidences”

 of his prior client. Id. at 363-64. In Martinez the attorney informed the district court of his

 conflict and that he was reluctant to violate his prior client’s confidential information, but the

 court allowed him to proceed and examine his former client. Id. at 363. The Fifth Circuit

 noted that although the attorney’s interrogation appeared vigorous, the court could not be

 sure that the attorney did not “refrain from pulling [some punches].” Id.

        McMurrey does not admit to a conflict, as did the attorney in Martinez. In fact,

 Beauchamp responds to the government’s motion by asserting that “McMurrey has and will

 advise the Court that his prior representation of Mr. Craighead was transient and insubstantial

 . . . [, and that] he never had any type of conversation or meeting with Mr. Craighead . . . that

 involved privileged or confidential information.” D. Br. 13. Absent an admission by

 McMurrey, the government bears the burden of proving that he possesses adverse

 confidential information. See In re Am. Airlines, 972 F.2d at 614. As with McMurrey’s

 necessary witness status, the government’s arguments are speculative. The government

 assumes, without any supporting evidence, that McMurrey possesses adverse confidential

 information. But the government’s own brief concedes that McMurrey told the government

 during its investigation of Beauchamp that he “was unaware of the connection between

 Craighead and FPMC/Beauchamp at [the time he represented Craighead].” D. Br. 6.

 Accordingly, the court concludes that the government has failed to show that McMurrey has




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 confidential information from Craighead that would be adverse to Beauchamp, as required

 to disqualify McMurrey. See Burns, 526 F.3d at 856.4

                                         *     *    *

        Because the government has failed to meet its burden as to both of the alleged

 conflicts on which it relies, the court denies the government’s motion to disqualify

 McMurrey.

        SO ORDERED.

        April 4, 2017.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             UNITED STATES DISTRICT JUDGE




        4
          In the alternative, the government requests that the court require Beauchamp to
 consent to “potentially hampered representation” because of the “potential for Craighead
 testifying in this case[.]” Gov’t Br. 12. The court declines to consider such a hypothetical
 at this time, and it denies the government’s request, without prejudice to the government’s
 moving anew for such relief if such a hypothetical conflict is realized.

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